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                                                                                       2019 Apr-04 AM 08:50
                                                                                       U.S. DISTRICT COURT
                                                                                           N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ALABAMA

JEREMY CARTER,                                   )
                                                 )
            Plaintiff,                           )
                                                 )
v.                                               )         Case No. 2:18-cv-00350-JEO
                                                 )
COMPANION LIFE                                   )
INSURANCE CO., et. al                            )         **UNOPPOSED**
                                                 )
            Defendants.                          )


                    UNOPPOSED MOTION FOR EXTENSION OF TIME

            Defendant Health Insurance Innovations, Inc. (“HII”) hereby files this

Unopposed Motion for Extension of Time for certain deadlines and shows as

follows:

            1.       Counsel for HII has conferred with counsel for all Parties and they do

not oppose (and have agreed to) the relief requested in this Motion.

            2.       This Court entered a Memorandum Opinion and Order (Doc. 66) on

Friday, February 22, 2019 granting in part and denying in part the Motions to

Dismiss filed by HII and by Companion Life Insurance Co. (“Companion Life”)

and Allied National, Inc. (“Allied”). (Docs. 46, 51.)

            3.       On March 7, 2018, the Parties moved for an extension of time to

conduct the Rule 26(f) Conference and to extend the time for HII, Companion Life,



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and Allied National to file a responsive pleading. This Court granted that motion

by text order on March 8, 2019.

            4.       The parties planned to conduct their Rule 26(f) Conference on April 2,

2019. Unfortunately, the Parties were unable to conduct their Rule 26(f)

Conference as scheduled.

            5.       The parties are in need of additional time to satisfy the provision of

the Order Regarding Compliance with Rule 26 (Doc. 29), specifically with regard

to the pre-conference exchange of Rule 26(a)(1) initial disclosures.

            6.       The Parties have conferred and agreed that the Rule 26(f) Conference

should be held the week of May 6–10, 2019 and that the Rule 26(f) Report should

be due to the Court on or before May 17, 2019.

            7.       Additionally, the Parties have agreed that HII, Companion Life, and

Allied should have until Friday, May 17, 2019 to file a responsive pleading.

            For these reasons, HII moves for an Order:

            A.       Extending the time for the Parties to hold their Rule 26(f) Conference

                     until Friday, May 10, 2019.

            B.       Extending the time for the Parties to file their Rule 26(f) report until

                     Friday, May 17, 2019.

            C.       Extending the time for HII, Companion Life, and Allied to file their

                     responsive pleading until Friday, May 17, 2019.


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            Respectfully submitted this 4th day of April, 2019.



                                            /s/ Steven C. Corhern
                                            (ASB-3130-V84C)
                                            One of the Attorneys for Health Insurance
                                            Innovations, Inc.

OF COUNSEL:
David R. Boyd
Steven C. Corhern
Balch & Bingham LLP
1901 Sixth Avenue North, Suite 1500
Birmingham, AL 35203-4642
Telephone: 205-226-8765
Facsimile: 205-488-5798




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                              CERTIFICATE OF SERVICE
            I hereby certify that I filed the foregoing via CM/ECF, which will effectuate

service on the following counsel of record, on this the 4th day of April, 2019:

            Trey J. Malbrough
            Malbrough Firm, LLC
            P.O. Box 531383
            Birmingham, AL 35253

            Michael W Whisonant, Jr.
            Jaffe, Hanle, Whisonant & Knight, PC
            2320 Arlington Avenue South
            Birmingham, AL 35205
            205-930-9800
            205-930-9809 (fax)
            mwhisonant@rjaffelaw.com

            R. Austin Huffaker, Jr.
            Rushton Stakely Johnston & Garrett PA
            P.O. Box 270
            Montgomery, AL 36101-0270

            John D. Elrod
            Terminus 200
            3333 Piedmont Road, NW, Suite 2500
            Atlanta, Georgia 30305
            Telephone: 678-553-2259
            Facsimile: 678-553-2269
            elrodj@gtlaw.com



                                                  /s/ Steven C. Corhern
                                                  Of Counsel




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